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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

              Plaintiff,

      v.                                           Case 1:19-cr-00018-ABJ


ROGER J. STONE, JR.

            Defendant.
___________________________________________/


                               NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that STRATEGYSMITH, P.A. (Grant J. Smith,

Esq., appearing) hereby enters its appearance as permanent counsel of record on

behalf of Defendant ROGER J. STONE, JR. and requests that all pleadings, motions,

notices, correspondence, orders and other filings regarding this case be served on

Grant J. Smith, Esq. at the below address.

                                       Respectfully submitted,
                                       Grant J. Smith, Esq.
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                                       Fort Lauderdale, Florida 33301
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                                       By: __/s/ Grant J. Smith________
                                            GRANT J. SMITH
                                            Florida Bar No. 935212
                                            Pro hac vice pending
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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 27, 2019, I electronically filed the foregoing

with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

being served this day on all counsel of record or pro se parties identified on the

attached service list in the manner specified, either via transmission of Notices of

Electronic Filing generated by CM/ECF or in some other authorized manner for

those counsel or parties who are not authorized to receive electronically Notice of

Electronic filing.


                                             STRATEGYSMITH, P.A.

                                             BY:_/s/ Grant J. Smith_______
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